       Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 1 of 43



                                                                    .4 .                 z
                   UNITED STATES DISTRICT CIT                                       Fi




                   SOUTHERN DISTRICT OF GEORGIA' .{ ''- {

                          SAVANNAH DIVISION



UNITED STA'S'ES OF AMEA, )

             Plaintiff,               }

v.                        )                        Case No . CR 405-59
                                      )
MARTIN J. BRADLEY III, et at
                                      )
             Defendants.              )

                   REPORT AND RECOMMENDATION

       This RI ' prosecution arises from a prescription drug-based fraud

scheme advanced in varying degrees by eight individual and two corporate

defendants. The .286-count superseding indictment accuses Martin J .

Bradley, III and his father, Martin J . Bradley, Jr ., of participating and

conspiring with others in racketeering activities that, through the

acquisition and marketing of prescription medications, defrauded state

Medicaid programs and various pharmaceutical manufacturers,

wholesalers, non-profit organizations, and other entities, Doc . 228.



       'The Racketeer Influenced and Corrupt Organizations Act, 18 U, . , § 1961,
seq,
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 2 of 43




      All ten defendants have jointly filed a number of motions seeking the

dismissal of certain counts of the indictment and the striking of numerous

"racketeering acts" charged under Count 1 (the RICO count) . Does . 101,

111, 113, 256, and 257 . Additionally, Bradley, III and Bradley, Jr . seek the

dismissal of other counts in which they are individually charged . Does. 93,

115 . This Report and Recommendation will address each of those motions .



1 . Motion to Dismiss Mail and Wire Fraud Counts and
     Racketeering Acts

      All defendants jointly move under Fed. R . Trim, P. 12 b)(2 )

12N(3)(B) to dismiss the substantive counts and racketeering acts of the

indictment charging defendants with either mail or wire fraud. Doc. 191 at

1, 25.2 At bottom, they contend that because more specific penal statutes

fit the alleged crimes, the Court should dismiss charges based on the mor e




       2More specifically, they want the Court to "(1) dismiss the mail and wire fraud
charges in Counts 3(A) and 4-53 of the Indictment and (2 ) strike from the RICO and
RICO conspiracy charges in Counts 1 and 2 the mail and wire fraud racketeering acts
1-29, 35-32 and 172-186 .°" Doc. 101 at 25- The indictment (doc . 1) has since been
superseded (doe. 228) , shifting some of the numeration defendants reference, but the
charges they challenge remain the same .
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 3 of 43




general mail and wire fraud' statutes since Congress , by implication,

intended the more specific statutes to control . Doe . 101 at 21 ("Permitting

the government to use mail and wire fraud to prosecute Medicaid fraud is

improper . . . .") ; W. at 25 (" Allowing this mail/wire fraud-based RICO case to

go forward would give unscrupulous prosecutors and civil plaintiffs' lawyers

licence to interfere with the proper and efficient function of the Medicaid

program" .

      Unsurprisingly, defendants cite no direct auth ority for the result they

urge here . They are correct in pointing out that Congress has enacted

statutes which may be said to more tightly fit some if not most of the

alleged offenses . See , a ,, United States Y. Taran      , 396 F. 3d 666, 669 (5th

Cir. 2005 ) (applying 18 U .S .C . § 1347, which proscribes the defraudation of

a health care benefit program) . But the Eleventh Circuit has routinely

upheld the government' s application of the "looser " RICO, mail, and wire

fraud statutes in Medicare fraud cases even though more specific statutes

exist. See, e ., United States v . Pedrick, 181 F .3d 1247 1266 (11th fair .

1999) ; Uu ~ed . tate .y,..      , 138 F.3d 928, 941-42 (11th fair, 1998) .



      X18 u. . . § 1341 (mail fraud) and 1343 (wire fraud) .

                                          3
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 4 of 43




      It is true that the argument raised here may not have been raised in

those Eleventh Circuit cases . And there may be good legislative arguments

for removing some of the statutory tools from the prosecutor's toolbox .

Loosely worded statutes , after all, can easily be misused to "over-federalize"

offenses that rightly should be handled by the states,4 or crimina li ze mere

civil or moral wrongs . See United States v . Brown , 79 F,3d 1550, 1562

{11th Cir. 1996) "the fraud statutes do not cover all behavior which strays

from the ideal ; Congress has not yet criminalized all sharp conduct,

manipulative acts, or unethical transactions") . For that matter , " generic"

fraud and conspiracy statutes have been soundly criticized .


      4As one commentator notes :

      The increase in new [federal] legislation , permitting increased federal
      prosecution , is not the only - cause of overfederalization and
      ovorcriminalization . There is also legislation that lacks sufficient
      specificity, allowing prosecutors to use federal statutes to bring conduct
      that is normally handled by state and local bodies into the federal system .

E, S. Podgor, (Jose Padilla and Martha Stewart : Who Should Be Charged with Criminal
Conduct? 109 Penn Sig . L, Rev . 1059, 1061 (2005),

      6" Generic statutes ," Podgor argues ,

      allow federal prosecutors discretion to proceed criminally against conduct
      that might normally be considered state or local criminal activity . For
      example, the mail fraud statute, an 1872 federal statute that was focused
      on re-codifying the Postal Act; and criminalizing lottery schemes that used
      the postal system , allows for federal prosecution of a wide array of conduct .
      Jed R.akoff, now a federal district court judge , has call ed the mail frau d

                                               4
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 5 of 43




       Nevertheless, defendants raise no constitutional challenge , and their

"Stradivarius" arguments are otherwise more . properly urged in a

Congressional , rather than a judicial, forum. " Court-imposed limits, such

as those imposed on the mail fraud statute are [simply] not a

commonplace occurrence ," 109 Penn , t.L.Rev, at 1063, and that shall

remain true here. See United States . V. T ie, 21 F . upp . d 7, 19 (D.D .C .

1998) (Absent evidence that Congress expressly intended to preempt a

general statute with a more specific statutory scheme, the prosecutor ha s


      statute the prosecutor' s "Stradivarius" or "Colt 4 5 ." Schemes to defraud,
      whether they involve diet drug fraud , "divorce mill" fraud, or securities
      fraud, may lead to charges of mail fraud when there is some mailing, no
      matter how "routine" or "innocent" the mailing might be . The Supreme
      Court has stated that the mailing does not have to be an essential part of
      the scheme to defraud .

       Equa lly permissive is the wire fraud statute, a law that was modeled after
      the mail fraud statute , although enacted in 1952 . Even when the wire used
      as the basis for the prosecution passes from one place within a state to
      another place within the same state , wire fraud may be charged if the wire
      happened to have passed , unbeknownst to the sender, outside the state .

        Prosecutors also have enormous discretion to bring criminal charges for
      conspiracy to defraud , which Justice Learned Hand referred to as the
      "darling of the modern prosecutor's nursery." Under the generic conspiracy
      statute, prosecutors can bring charges of conspiracy to commit ; a specific
      offense or a conspiracy to defraud the government . When conspiracy to
      defraud is alleged, there are few restraints on the government 's ability to
      prosecute . As noted by Professor Abraham Goldstein , "[t]he phrase
      [conspiracy to defraud'I has had no fixed meaning . "

I , at 1062 -6 (footnotes omitted) .

                                           5
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 6 of 43




the discretion to decide how best to employ the battery of available criminal

statutes) ; Upited States v. Simon, 510 F . Supp . 232, 236-37              .D .Pa, 1981)

(There is no firm rule that the government must choose to prosecute under

specific rather than general statute ; enactment of Medicaid fraud statute

did not preempt the use of other federal criminal statutes in prosecution of

Medicaid fraud, and such prosecution could proceed on charges of mail

fraud and making false statements within jurisdiction of federal agexncy) .6

The fact that Congress armed prosecutors with both surgical tools and

meat-axes has not been shown to violate any constitutional minima, and

courts are otherwise equipped (e ., by addressing various prosecutoria l




         It has been said that "courts generally adhere to the principle that statutes
relating to the same subject matter should be construed harmoniously if possible, and
if not, that more recent or specific statutes should prevail over older or more general
ones, Trig Allie-B , Inc. v. United States ., 273 F. 3d 936, 941 111th Cir, 2001) . Citing
A- defendants argue for application of that principle here . Doc . 101 at 6.

  Yet Allie-B also noted that "a newer statute will not be read as wholly or even partially
amending a prior one unless there exists a positive repugnancy between the provisions
of the new and those of the old that cannot be reconciled ." Id. at 941(alteration s, quotes
and cite omitted) . There is no positive repugnancy between the specific versus more
general statutes identified in this case . True, it maybe repugnant to some that Congress
has provided prosecutors with both surgical tools and meat-axes, but positive
repugnan cy denotes irreconcilable inconsistency, and while one form of implement
enables more precision than the other, both enable the same task of excising criminal
conduct from society .

                                             6
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 7 of 43




misconduct and Brown-type statutory limitation defenses) to rein in meat-

ax enabling prosecutorial excesses.

      Accordingly, defendants' joint motion to dismiss or strike mail and

wire fraud charges (doc . 101) should be DENIED .



11.   Motion to Dismiss " Stolen Property" Act s

      Count 1 (RICO) of the superseding indictment charges defendants

with various "racketeering acts," including transporting in interstate

commerce fraudulently obtained pharmaceuticals of an aggregate value of

$5,000 or more" in violation of 18 U .S .C. § 2314, Doc . 228 at 16-17, 27, 30-

31, 34-35, 44-4 (identifying a total of 57 separate "racketeering acts" to

support the alleged violation of 28 U .S.C . 2314) . Defendants argue that

11 of those racketeering acts must be dismissed because they do not

individually satisfy the $5,000 jurisdictional prerequisite . Doe. 256 (citing

Acts 104, 105, 1107 185, 186, 187, 191, 192, 193, 196, and 199) .

      Defendants' argument is without merit . The statute provides in

relevant part : "Whoever transports in interstate or foreign commerce any

goods . . . of the value of $5,000 or more, knowing the same to have bee n



                                       7
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 8 of 43




stolen, converted, or taken by fraud . . . [sihall be fined not more than

$10,000 or imprisoned not more than ten years, or both ." 18 T.S.C . § 2314 .

Defendants correctly assert, then, that this section imposes a $5,000

minimum value as a prerequisite. Doe, 256 .

      They omit, however, the crucial statutory definition of "value,"

"Value" means "the aggregate value of all goods , . . referred to in a single

indictment." See 18 U.S.C. §§ 2311 {emphasis added) . Here, all 57 acts

identified by the government are offered as support for Count One of the

indictment against the joint defendants . Doe, 228 at 9-55 . Thus, by the

plain language of the statute, the values of the 57 separate racketeering

acts - allalleged under Count One - may be aggregated to satisfy the

$5,000 prerequisite . The aggregated value of the cited acts easily exceeds

$5,000 therefore, the fact that some of the acts involved less than $5,000

does not mandate their dismissal .

     Defendants cite Brown v . Protective Life Insurance Co., 353 F .3d 405

(5th Cir. 2003), to support their argument that separate acts may not be

aggregated under 28 U .S.C . § 2314, Doe . 256 at 2 . Brown does not aid the

defendants, as that court merely held that it would not extend the well-


                                      8
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 9 of 43




recognized aggregation rule to civil cases . 353 F .3d at 408 . In fact, Brown

specifically allowed aggregation in "criminal cases where the separate

transactions were substantially related and charged as a single indictment ."

Id, (citing Schaffer v . United States, 362 U. S. 511, 517 (1950) ("A sensible

reading of [28 U .S .C. 23111 properly attributes to Congress the view that

where the shipments have enough relationship so that they may properly

be charged as a single offense, their value may be aggregated") ; see also

United States v . Markus, 555 F .Supp . 375, 377-78 D.N .J . 1983)

(aggregation of value of property within single count is permissible) .

      Defendants' Joint Motion to Dismiss Certain "Stolen Property" Acts

for Failure to State Offenses (doe. 256) therefore must be denied.



III. Motion to Dismiss or Strike "Intangible Right " Allegations

      Count 1 of the superseding indictment also charges defendants with

racketeering acts involving violations of 18 U . S. C . § 1341 (mail fraud) and

18 U. . . § 1343 (wire fraud) . Doe . 228 . Certain of those charges stem

from schemes to defraud entities of money, property, and "the intangible

right of honest services ." Id. at 27-, 31-34, 38-41 . Defendants insist that


                                       9
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 10 of 43




these " intangible right" allegations must be dismissed or struck from the

indictment because (a) the indictment does not allege a violation of 18

U .S .C. 1346, from which the "intangible right " phrase is taken ; and (b)

the indictment does not allege the required fiduciary relationship on which

such a charge must be based . Doe. 257 at 3-7 .

      Defendants' first argument is completely baseless , Count 1 of the

superseding indi c tment charges defendants with engaging in racketeering

activities involving mail fraud , in violation of 18 U .S.C. § 1341, and wire

fraud, in violation of 18 U.S .C . 1343 . See, e. ., doe. 228 at 27-29, 31-34,

38-41 . Those statutes make it a crime for an individual , "having devised or

intending to devise any scheme or artifice to defraud " another , to use the

mail or a wire communication "for the purpose of executing such scheme or

artifice . . . ." See 18 U .S.C
                             ., §
                                . 1341, 1343 .

      Sections 1341 and 1343 specify clear prohibitions against using the

mail. or a wire to further a" scheme or artifice to defraud ." Defendants have

been properly charged with violations of those sections . Section 1346, on

the other hand , simply defines those statutes ' "scheme or artifice to




                                      10
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 11 of 43



 defraud" language to include " a scheme or artifice to deprive another of the

intangible right of honest services ." 18 U .S . C . 1346.

      Thus, the "intangible right" allegations in the indictment are

appropriately stated as a species of the mail/wire fraud charges ; to prove a

violation of the mail or wire fraud statutes, the government must identify

what the victim has been defrauded of, and here the government properly

alleges money, property, and the intangible right of honest services .       See,

p ,Z, United States . deV er, 198 F .3d 1324, 1328 n . 4 (11th Cir . AM,

Indeed, since § 1346 i s merely a definitional statute, it would have been

improper to charge the defendants with a "violation" of it . See United

States v. Ratcliff, 381 F . Supp. 2d 537, 550 n . 103 M.D,La . 2005) (" 1 U .S.C.

  1346 does not create a new offense, but only further defines a pre-existing

offense") (citing United States v. Hoot n, 933 F . 2d 293, 297 (5th Cir .

1991)).

      The Court must also reject defendants' second argument, Doc . 257 at

3-7 . Defendants argue that the intangible right doctrine is only violated

where the defendant owed a fiduciary duty to the victim . Id. at 3 . Thus,

defendants conclude, the intangible right allegations are inappropriate here ,


                                       11
       Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 12 of 43




where the defendant wholesalers owed no fiduciary duty to the "victims"

they were allegedly defrauding . Id. at 4-5.

       To support their argument, defendants rely on United States v .

de e       , 198 F . 3d 1324 (11th dir . 1999) . That court did suggest that the

government must show the existence of a fiduciary duty, id . at 1330-31, and

the government implicitly concedes that it must do so, Doe, 269 at 2-3 .

Nonetheless, dee er does not seem to require that defendants be held to

the same strict fiduciary duty to which a public official would be held . Id.

at 1327-28 . Recognizing the distinction between public official malfeasance

and private sector misconduct, the Eleventh Circuit wrote that a private-

sector defendant's breach of loyalty must merely "contravene--by

inherently harming the purpose of the parties' relationship ." Id. at 1328-

29.

       Though defendants deny that they owed any sort of fiduciary duty to

any group or manufacturer, the do-Yegte decision actually supports a denial

of defendants' motion, That court held that the intangible right allegations

against the defendant were proper where the indictment "implicitl y




                                       12
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 13 of 43




allege [dl" that the defendant breached a fiduciary duty owed to his victim.

   at 1330.

      Similarly, the indictment here allows the Court to infer a breach of

fiduciary duty by the defendants . The indictment alleges that defendant s-

through their corporate ventures joined the I nnovatix and GNYHA group

purchasing organizations (GPOs) to purchase pharmaceuticals at the

groups' membership prices . Doe, 228 at 31-34 , 38-41 .                   In doing so,

defendants may have taken on duties to act honestly and fairly in their

dealings with those GPOs .7 See deVe r, 198 F .3d at 1330 . Moreover,

defendants ' schemes could surely be said to have "contravened " the purpose

of their relationships with either those organizations or the drug

manufacturers and wholesalers . Id . at 1329 .

      Thus, defendants ' claim that the necessary fiduciary relationship did

not exist is not enough to have the intangible right charges dismissed ; the

government has alleged all of the elements of the offense, so it would not be

proper to dismiss the charges based on defendants ' denial of some of the

facts. See, g g, deVe er, 198 F . 3d at 1326-27 ("[Al
                                                 "court may not dismiss



     7Of course, the government will have to prove the existence of such a duty at trial .

                                          13
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 14 of 43



an indictment , . . on a determination of facts that should have been

developed at trial") (quotes and cite omitted) ; see also United es V.

Dasilya-Hernandez , 2005 WL 1231714 at *1 (11th Cir . 2005) {"An

indictment is sufficient if it : 1 presents the essential elements of the

charged offense, (2 notifies the accused of the charges to be defended

against, and 3 enables the accused to rely upon a judgment under the

indictment as a bar against double jeopardy") (quotes and cites omitted)) .

       Accordingly, defendants' joint motion to dismiss the intangible right

allegations must be denied, Doc . 257.



I . Motion to Dismiss Money Laundering Acts Involving Two
     Foreign Banks


      All defendants have filed a motion to dismiss or strike the money

laundering charges asserted in racketeering acts 227, 236, 240, 243, 2447

248 and 249 of the original indictments for failure to state offenses within

the meaning of 18 U .S.C . 1956(a)(1 B (i) . Doc, 113 . These racketeering

acts each assert individual money laundering transactions (involving th e


       "The superseding indictment , renumbered these acts as 228, 23 7, 241, 244, 245,
249, and 250 . The Court will use the new numbe ri ng system in its discussions ,

                                          14
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 15 of 43




proceeds of mail and wire fraud) between two foreign financial institutions

in Nassau, Bahamas, where defendants Bradley, III and Bradley, Jr .

maintained accounts .' Defendants assert that these "Bahamas-to-

Bahamas" transfers "faded to state offenses within the jurisdictional reach

of Section 1956 because these specific `transactions' were entirely outside

the United States." Doe . 113 at 5 .

      In support of their contention that the money laundering statute does

not reach financial transactions occurring between two foreign banks,

defendants cite United States v . Kramer , 73 F . 3d 1067 {11th Cir.), cert.

denie , 519 U.S. 1011 (1996) . In Kramer, the Eleventh Circuit reversed the

money laundering conviction of a defendant prosecuted under 18 U . . .

1956(a)(2), citing the United States' lack of jurisdiction to prosecute th e




        'The indictment charges that Bradley, III and Bradley, Jr .' opened both a bank
account and a credit card account in Nassau, Bahamas in the name of one of their many
companies, Intermed. Pharmaceuticals Supply . Doc . 228 at . Funds in excess of'$5
million were deposited into these foreign accounts from various accounts in the United
States over which defendants maintained control, Id . Defendants allegedly used these
accounts for their own personal benefit and for the benefit of other members of their
scheme . The racketeering acts challenged by defendants all concern transfers of hands
from the Nassau bank account to the Nassau credit card account between June 1998 and
June 2000, id, at 49-52 . Although only the Bradleys are named in these racketeering
acts, all defendants seek their dismissal .

                                          15
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 16 of 43




defendant for a transaction that occurred entirely between two foreign

countries.

      Defendants' reliance on Kramer is misplaced, as that case deals with

Section 195 6(a (2) instead of Section       56 (a) (1 B (i), the subsection of the

money laundering statute at issue in this case . The Eleventh Circuit

addressed this statutory distinction in United States v . Tarkoff, 242 F . 3d

991 (2001) . The court in Tarkoff concluded that Kramer did not control in

the case of a   1956 (a 1) B Ui violation because "violation ofthe subsection

at issue in Kr rn_     specifically requires a transfer of funds to or from the

United States . . . whereas a violation of the subsection under which Tarkoff

was convicted [      195 6 a 1) (B) (i I can occur so long as the defendant was

involved in a `financial transaction. "' Id. at 994 .

      Defendants further argue in their Joint Reply that the Eleventh

Circuit's decision in Tarkoff was an anomaly limited to that specific factual

situation and should not be extended to this case. Doc. 216 . The defendant

in TgrkofF had demonstrable direct links to the United States while

conducting the financial transaction for which he was convicted . He

traveled to Israel from the United States to conduct business at a ban k


                                        16
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 17 of 43




there, and he used telephone communications from Miami to Curacao to

effectuate the financial transactions . Id. at 995 . Defendants argue that

since these types of demonstrable links have not been alleged in the

superseding indictment, the racketeering acts should be dismissed for lack

of jurisdiction .

      Defendants also direct the Courts attention to the provisions of 18

U .S .C.., 195 6 which clarify the intended jurisdiction of the United States

over acts falling under the money laundering statute . In this provision,

extraterritorial jurisdiction is limited to situations where the conduct

involved a United States citizen and the value of the transaction exceeded

$10,000, Defendants assert that §1956(f) does not suggest extension to

every case involving United States citizens . They highlight language in a

Senate report that gives an example of a person telephoning instructions

from the United States to a foreign bank to effectuate a transfer .

Defendants conclude that mere involvement of a United States citizen is not

enough and that more ties to the United States are necessary than those

that have been demonstrated in these financial transactions .




                                     17
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 18 of 43




      Finally, defendants urge upon the Court the legal presumption that

statutes should not be applied outside the territory of the United States

without manifest Congressional intent . See, eg. , Small v . United States,

125 S .Ct . 1752, 1755 (2005) ; Smith v . United States, 507 U. S. 197, 204, n.

5 (1993) ; United States v . Mitchell, 553 F .2d 996, 1002 (5th Cir . 1977) .

Since Congress has not clearly stated its desire to legislate etraterritorially

in every case involving a United States citizen, say defendants, this Court

should refrain from allowing the statute's reach to extend to these

transactions .

      Defendants' Joint Reply arguments are misdirected and must fail as

to the challenged racketeering acts . The superseding indictment charges

defendants with crimes in the language of the statute and alleges facts

which constitute a prosecutable offense . Contrary to defendants' position,

§ 1956(f) does give extraterritorial application to the money laundering

statute, and Congress' intent that there be extraterritorial jurisdiction in

certain qualifying situations is clear ,

      Section 1956 (a) 1 (B)(i makes certain financial transactions crimes .

Section 1966W(4) defines . "financial transaction" as, among other things ,


                                       18
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 19 of 43




 "a transaction which in any way or degree affects interstate or foreign

commerce, " In this case, the racketeering acts at issue are all alleged to be

"financial transactions affecting interstate and foreign commerce ." Doe.

228 at 48 . Further, the indictment alleges that the transferred funds were

derived from "specified unlawful activity, that is, mail fraud .and wire

fraud," id ., and that the source of these funds were "various accounts i n

the United States over which [defendants] had control ." Id . at 9 .

Specifically, the indictment alleges that the funds deposited in defendants'

Bahamian accounts were derived from their Bio-Med accounts in Savannah,

Georgia and Miami, Florida . Id . Thus, the Bahamas-to-Bahamas transfers

involved funds which had been generated in the United States and,

according to the indictment, were designed to disguise and conceal the

illegal nature and source of the funds . Id. at 48 . This Court is not, at this

stage of the proceedings, at liberty to assess the sufficiency of the evidence

supporting an indictment obtained from an unbiased grand jury, United

Sties v . Calandr , 414 U. S . 338, 344-45 (1974) ; Costello v, United States ,

350 U.S . 359, 362-62 (1956) ; United States v.   arza-Garcia, 819 F .2d 1043,

1048 (11th Cir . 1997) (superseded by statute on other grounds) ; UnitQd


                                      19
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 20 of 43




States v. Brown, 574 F . 2d 1274, 1277 ( 5th Cir. 1978); United States v.

Mann, 517 F .2d 259 , 267 (5th Cir. 1975) . To the extent that Tarkof

informs this motion to dismiss, it reinforces the conclusion that a

transaction of this sort, between two foreign banks, can under certain

circumstances satisfy the requirements of Section 195 6(a) 1) (B) (i) .

      As to the defendants ' § 1956(f) argument, a careful reading of the

statute reveals that § 1956(f) is a limiting provision . Crimes that satisfy the

elements of § 1956(a)( 1) (B) (i) must also satisfy § 1956(f), which further

narrows the reach of the statute . Section 1956(f) gives extraterritorial

jurisdiction over the conduct prohibited in that section if the conduct is by

a United States citizen (or if not a citizen, occurs in part in the United

States), and the transaction involves an amount exceeding $10,000 . By the

plain language of the statute , Congress makes clear its desire that crimes

which satisfy § 19      ( a)(1)(B)(i ) be afforded extraterritorial application

where the person is a United States citizen and the minimum dollar amount

is met. In this case, Bradley, III and Bradley , Jr . are United States citizens ,




                                       20
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 21 of 43




and the amounts exceeded $10,000 in racketeering acts 228, 237, 241, 244,

and 245 .1°

      Defendants' Joint Motion to Dismiss or Strike Racketeering Acts 228,

237, 241, 244, 245, 249 and 250 of the superseding indictmentmust be

DENIED .



V.    Motion to Dismiss Ma il/Wire Fraud "Diversion" Charges

      All ten defendants have jointly filed a motion to dismiss the charges

brought against them in racketeering acts 88-100, 115-131, 144-153 and

154-169 of the original indictment for failure to state offenses within the

meaning of 18 U . .C . §§1341 and 1343 . Doc. 111 . The challenged acts

relate to the IVIG Safety Net Program, the Innovatix group purchasing

organization (GPO), the Puerto Rico scheme, and the Larry Pinkofscheme,

respectively . The superseding indictment, filed September 20, 2005 ,


        "The Court notes that racketeering acts 2 49 and 250 charge financial transactions
involving $10,000 and $ 2,151 , respectively. Doc. 228 at 5 1 , 52 . Section 1956 (f) requires
that, for crimes under the money laundering statute, extraterritorial j urisdiction only
applies if the amount involved in the transaction or series of related transactions
involves funds or monetary instruments ofa value exceeding 10000 °" ( emphasis added) .
Although the indictment does not allege specifically that racketeering acts 249 and 250
were part of a series of related transactions , this appears to be a fair inference . And as
neither party has raised the jurisdictional amount issue, the Court will not address it
further.

                                             21
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 22 of 43




renumbered the relevant charges as racketeering acts 88-97, 115-131 1 144-

153, and 154-169, and added language asserting a scheme to defraud the

GPOs and Safety Net Program of not only money and property but also

"the intangible right of honest services ." Doc. 228 at 28, 31, 39 .

      The racketeering acts challenged by defendants pertain to various

fraudulent schemes to obtain pharmaceuticals at reduced prices based on

misrepresentations to manufacturers, wholesalers, group purchasing

organizations, and others . The first scheme involved the IVIG Safety Net

Program, which was developed through the non-profit Immune Deficiency

Foundation . Doc . 228 at 6 . The purpose of the program was to provide

physicians and pharmacists with an emergency source of intravenous

immune globulin IVI when they were unable to obtain it from their

regular supplier . Before receiving IVIG, physicians and pharmacists had to

affirm that they had no alternative source of IVIG, identify the patient,

limit the IVIG received to medically necessary cases, and agree not to re-sell

or otherwise distribute the MG received . Infustat (one of the companies

created and controlled by defendants) allegedly obtained IVIG from the .




                                     22
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 23 of 43




Safety Net Program through fraudulent misrepresentations, and then

diverted the IVIG to Bio-Med where it was sold on the open market . Id.

      The second scheme involved Innovatix, a group purchasing

organization (GPO) that negotiated discount drug prices for its members .

Doc . 228 at 7 . Membership was available to "closed pharmacies" that

certified that the drugs purchased would only be distributed to the limited

patient population serviced by the pharmacy, Infustat, Seratech, and IT

were members of Innovatix who allegedly fraudulently misrepresented that

the drugs they purchased would be for their "own-use" when, in fact, the

drugs obtained through membership in the GPO were diverted to Bio-Med

and sold on the open market . Id. at 7-8.

      Thirdly, the Puerto Rico Scheme related to the pharmaceutical

manufacturers' practice of designating certain amounts of prescription

drugs to be sold in Puerto Rico and other Latin American countries at

reduced prices . Id. at 8 . Manufacturers and wholesale distributors only sell

these discounted drugs to entities who agree that the drugs will be

distributed in that area and not re-sold in the United States . - Allegedly,

defendants falsely represented to manufacturers and wholesalers that those


                                      23
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 24 of 43




drugs would be distributed only in the designated foreign markets and then

unlawfully transported the drugs back to the United States, "diverted"

them through several corporate entities, and re-sold them by Bio-Med . I .

      The last scheme involved Larry Pinkoff, an individual who owned and

operated several closed pharmacies and pharmaceutical wholesale

businesses, including IT, SFP, WPB', and GIP, Id . at 38. Bradley, III,

Bradley, Jr ., and Bio-Med are alleged to have fraudulently purchased

pharmaceuticals through these entities and re-sold them through Bio-Med

on the open market . Id.

      Defendants cite the allegations in the superseding indictment that

they committed mail and wire fraud under 18 U. . . 1341 and 1343 by

"breaching" contractual promises (such as "own-use" certifications) and

"diverting' pharmaceuticals . They argue that the GPO and the Safety Net

Program could not have been defrauded because they did not lose any

"money or property" within the meaning of the mail and wire frau d

statutes. Doc. 111 at 6 . These entities are said to have "only granted

authorizations - in effect , licenses -- to buy (pharmaceuticals] at reduced

prices based on membership in the organizations obtained through the end-


                                    24
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 25 of 43




use certifications ." Id. at 10 . Defendants conclude that the challenged

racketeering acts are not sufficient as to any entity other than the

manufacturers. According to defendants, the government has only

described the money or property that could have been lost by the

manufacturers, but not by anyone else . Id. at 5 .

     In an apparent response to this argument, the government superseded

the indictment to charge that defendants schemed to defraud the Safety

Net Program and the GPOs of not only "money and property" but also "the

intangible right of honest services." Doe. 228 at 28, 31, 39 .        While

defendants have challenged these "intangible right" allegations, the Court

has determined that there is no legal basis for dismissing or striking this

language from the superseding indictment . See        III, supra . For each

group of racketeering acts challenged by defendants, the superseding

indictment carefully tracks the language of the statute . An indictment is

sufficient if it charges in the language of the statute, United Statgra v .

Critter, 9 51 F . 2d 306, 307 (11th Cir. 1992), and "a court may not dismiss

an indictment . . , on a determination of facts ." United States , de ezte ,

198 F .3d 1324, 13 26 (11th Cir. 1999). These racketeering acts are legally


                                     25
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 26 of 43




sufficient to withstand a motion to dismiss because they charge that

defendants devised a scheme and artifice to defraud the group purchasing

organizations, the Safety Net Program, and wholesale distributors ofmoney

and property and "the intangible right of honest services" in violation of 18

U.S.C
   ., .1341 and 1343 . Doc. 228 at 28, 31, 3, 39 . Whether, in fact, such

losses occurred is a question for the jury to decide .

      The Court has also painstakingly reviewed defendants' second

argument for dismissal , which states that, as a matter of law, the mail and

wire fraud statutes cannot be used to criminalize "breach of contract"

claims . Defendants conclude that the alleged diversion schemes constitute

only breach of contract and not fraud . Doe, 111 at 11-1 . The superseding

indictment, however, affirmatively states that there was a scheme to

defraud-a scheme to obtain goods and services by false and fraudulent

pretenses-for each of the racketeering acts at issue here . Doc . 228 at 28,

31735, 38-39 . This clearly goes beyond alleging only breach of contract, and

defendants' argument is contrary to a plain reading of the indictment ."

       "As the Court has noted elsewhere, there is an important difference between a
(mere) breach of contract - which involves a failure to honor one's promise - and a
scheme to defraud - which involves making a promise one intends not to keep, Doc .
296 at 8 (Report and Recommendation addressing def'endants' suppression motions) .
Despite defendants' continued insistence to the contrary, the operative theory of th e

                                         26
      Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 27 of 43



       Defendants' claims that ( 1) GP Os and other wholesale distributors

were not defrauded because they did not lose any "money or property" and

(2) the diversion schemes involved only breach of contract are simply

premature . These claims raise triable issues of fact, facts which have been

sufficiently alleged in the indictment and which should be determined at

trial by a jury . The federal courts may not assess the sufficiency of the

evidence supporting an indictment obtained from an unbiased grand jury .

United States v. Calandra, 414 U . S . at 34-4-45; Costello v. United States ,

350 U . S . at 302 ; United Sts          Ayarza-Garcia, 819 F. 2d at 1048 ; United

states v . Brown , 574 F. 2d at 1277 ; United States v . Mann, 517 F . 2d at 267 .

The Federal Rules of Criminal Procedure permit a defendant to raise prior

to trial only those defenses or objections which are capable of determination

without the trial of the general issue . Fed . R . Grim. P. 12(b). " It follows

that a pretrial motion to dismiss the indictment cannot be based on a

sufficiency of the evidence argument because such an argument raises




government' s case is fraud, not breach of contract . That is what the indictment alleges,
and that is the case that must be tried. At this point, the Court is not empowered to
peck behind the probable cause findings of the grand jury to see if the alleged facts have
any merit,

                                           27
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 28 of 43




factual questions embraced in the general issue." Ayarza-Garcia , 619 F .2d

at 1048 .

      While this court may review the legal sufficiency of the indictment,

it may not (at this stage) review the sufficiency of the proof that will be

offered in support of the indictment's allegations, or second-guess the grand

jury's probable cause findings .12 United States v. Salman, 378 F.3d 1266,

  68-69 (11th lair . 2004) . "It is not for the courts to filter which criminal

cases may reach the trial stage by reviewing the proffered evidence in

advance." Id. at 1269.

      In sum, defendants' motion to dismiss asks the Court to reach legal

conclusions based on their version of the facts . "There is no summary

judgment procedure in criminal cases . Nor do the rules provide for a pre-

trial determination of sufficiency of the evidence ." Critter, 951 F . 2d at 307 .

Because the indictment in this case charges in the language of the statute,

alleging the required elements of the crime, it is legally sufficient to call for

a trial on the merits . "A motion for acquittal under Rule 29 is the prope r


        L2See also, Mann, 517 F .2d at 267 ("A defendant may not properly challenge an
indictment . . . on the ground that the allegations are not supported by adequate
evidence, for an indictment returned by a legally constituted and unbiased grand jury,
if valid on its face, is enough to call for trial of the charge on the merits .") .

                                          28
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 29 of 43




avenue for contesting the sufficiency of the evidence in criminal cases."

 alma n, 378 F . 3d at 1268 . Should the government fail to meet its burde n

at trial of showing that the GPOs and others were defrauded of goods and

services, or that the diversion schemes involved more than breach of

contract, the defendants can at that time move for a judgment of acquittal

as to those offenses under Federal Rule of Criminal Procedure 29 .



VI. Bradley, HI's Motion to Dismiss Count 284

     Defendant Martin J . Bradley, III has filed a motion to dismiss the

charges brought against him in Counts 284 and 285 of the original

indictment . Doe. 93 . These Counts charge defendant with failing to

disclose on the relevant tax forms his interests in foreign bank accounts for

the years 1999 and 2000 , respectively, The superseding indictment, filed

September 20, 2005, did not include former Count 285 but retained and left

unchanged Count 284. Doe. 228 at 80 . Therefore, defendant's motion with

respect to Count 285 of the original indictment is moot, and the Court will

address defendant' s motion to dismiss Count 284 .




                                     29
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 30 of 43




      Defendant asserts that venue does not exist in the Southern District

of Georgia for Count 284, which charges him with failing to disclose a

financial interest in certain Bahamian bank accounts . Doc. 228 at 9, 80,

Defendant's federal income tax return for 1999 was prepared by defendant

Sara Griffin in Savannah, Georgia on or about October 3, 2001, The return

was signed by Bradley, III on or about October 5, 2001 and was received in

the Atlanta, Georgia IRS Service Center on October 9, 2001 . Bradley

answered "no" to Question 7a on Schedule B, Part III, which asks, "At any

time during 1999, did you have an interest in or a signature or other

authority over a financial account in a foreign country, such as a bank

account, securities account, or other financial account?" . Doc 233 at 8 .

Furthermore, defendant never filed Form 90-22 .1 for the 1999 tax year,

which is the tax form required to be filed for individuals holding certain

financial interests in foreign accounts who answered "yes" to Question 7a

on Schedule B, Part III .

      An indictment or counts of an indictment may be dismissed under

Fed. R. Grim . P . 12(b) if "`there is an infirmity of law in the prosecution ; a

court may not dismiss an indictment, however, on a determination of


                                       30
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 31 of 43




facts . . . ."' United States yr ..de .egter,, 198 F .3d at 1326 (quoting Unite

 t,qtgs v. Tarkin ton , 812 F .2d at 1364) . To determine the sufficiency of an

indictment, a court must only look to the face of the indictment and may

not second-guess the facts that the government contends that it c an prove

at trial. United States v . Critzer, 951 F. 2d at 307 .

      Defendant argues that venue does not exist in the Southern District

of Georgia for the government's claim that he failed to file Form 90-22 .1 in

violation of 31 U.S . C. §§ 5314 and 532 (b), which would have indicated that

he had financial interests in foreign bank accounts . Defendant states that

it is a "well established rule " that venue in cases involving the failure to file

tax forms is found in . either (1) the Internal Revenue district where

defendant resides, or (2) the district where the Secretary of the Treasury

designates that the form in question must be filed . Defendant points out

that at all relevant times he has resided in Miami, Florida, Furthermore,

Form 90-22 .1, the reporting form that defendant failed to file, directs that

it be filed with the Department of the Treasury in Detroit, Michigan .

Therefore, defendant concludes, the Southern District of Georgia lacks

venue to hear this claim against him .


                                       31
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 32 of 43




      Venue is proper in this case for two reasons . First, venue is proper in

the district where the incomplete , and partially false , tax return was made

and subscribed . Second, venue is proper at the co ll ection point where the

missing form should have been filed .

      In determining permissible venue, an' early Fifth Circuit case

involving prosecution for filing a false income tax return found venue to be

proper in the district where the return was made and subscribed , as well as

in the district where the return was filed. United .States v. Lawhon, 499

F .2d 352 (5th Cir, 1974) (citing United        t s v. Ha , 306 F.Supp. 620 (D .

Md. 1969)) . Lawhon, while only dealing wit h the filing of a false return and

not . the failure to file a mandated tax form , still instructs this Court on

notions of proper venue in income tax cases . The former Fifth Circuit

clearly found the location of preparation to be a solid venue choice for

prosecution . In this case, it is contended that defendant ' s 1999 tax return

was prepared by defendant Sara Griffin in Savannah, Georgia . If defendant




       "Fifth Circuit cases decided prior to October 1, 1981 are binding on this Court
because of corgia's inclusion in the Fifth Circuit until that time . Bonner v . City of
Pric rd, 661 F,2d 1206, 1209 (11th Cir, 1981) (en bane) (adopting as binding precedent
decisions of the Fifth Circuit rendered prior to Oct . 1, 1981) .

                                          32
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 33 of 43




had filed Form 90-22 . 1, it presumably would have been prepared in

Savannah as well .

      Secondly, proper venue must be determined from the nature of the

crime and the location of the act (or omission ) constituting the crime.

United States v. Cabral es, 524 U .S . 1, 6-7 (1998) . In United States v.

C li nton, 574 F . 2d 464 (9th Cir . 1978), the Ninth Circuit dealt squarely with

the issue of permissible venue in a criminal case where the defendant had

failed to file certain income tax forms, The court found that "[f]ailure to

file a tax return is an offense either at the defendant's place of residence,

or at the collection point where the return should have been filed ." Id. at

465. The location where Form 90-22 .1 should have been filed is indicated

in the instructions on the form itself. Defendant points out that those

instructions direct that the form be filed with the Department of Treasury

in Detroit, Michigan . However, defendant fails to note the second half of

the filing instructions on Form 90-22 .1, which add that alternatively, "it

may be hand carried to any local office of the Internal Revenue Service for

forwarding to the Department of the Treasury, Detroit , Michigan ."




                                       33
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 34 of 43




     Defendant or his agent could easily have hand carried Form 90-22 .1

to the local IRS office in Savannah, Georgia . It was a designated place

authorized to receive this form for forwarding to Detroit . Moreover,

defendant's tax return for the year 1999 was prepared by defendant Sara

Griffin in Savannah . It was then signed a few days later by defendant

Bradley, III in an unspecified location and wiled to the IRS Service Center

in Atlanta, Georgia . The failure to file is clearly connected to the Southern

District of Georgia . Because the Southern District of Georgia is one of the

districts where defendant's Form 90-22 .1 could have, or should have, been

filed and the pertinent actions are closely tied to this district, venue

requirements are satisfied in this case . See United States vt alines , 958

F .2d 578 (4th Cir. 1992) .

      Furthermore, venue in this case satisfies the requirements of the

Constitution that the accused have the right to be tried in the district

where the crime was committed . Prosecution of this crime in Savannah

does not present unfairness or hardship to defendant by forcing him to

defend himself in a remote or unrelated place . In Cline, the court dealt

with an almost identical scenario involving the failure to file Form 90-22 .1 .


                                      34
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 35 of 43




The court found that venue properly lay in the District of Maryland because

Cline's accountant had offices in Maryland where he had prepared Cline's

income tax returns for the relevant years. Id. at 584 . The Court finds that

venue properly lies in the Southern District of Georgia based on the

language of Form 90-22,1 and defendant's connections to Savannah in

relation to this crime .

      Based upon the foregoing, the Court recommends that defendant's

Motion to Dismiss Count 284 of the Superseding Indictment be DENIED .




VII . Motion to Dismiss Counts 285 and 28 6

      The superseding indictment also charges defendant Martin J . Bradley,
                                                              .14 Doc, 228
Jr . with two counts of violating 31 U . . . 5314 and 5322(b)

at 80-81 .15 Section 5314 makes it a crime for an individual to fail to disclose

foreign financial interests in accordance with regulations set out by the

Treasury Secretary . The indictment alleges that Bradley violated that

statute by failing to disclose interests in a bank account and credit card i n


      ' 31 U . . .   5322(b) is a sentencing statute related to 31 J .S .C. § 5314 .

     "These counts were originally Counts 286 and 287, Doc . 1 at 80-81 . They were
renumbered as Counts 28 5 and 286 in the superseding indictment . Doc. 228 at 80-81.

                                             35
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 36 of 43




Nassau ., Bahamas, as well as a bank account in Belize, on his 1999 and 2000

tax returns . Doc. 228 at 9, 80-81 .

      Bradley argues that these counts must be dismissed because : (1) they

do not allege offenses with sufficient particularity, as they fail to specify on

which foreign account the alleged violation . is based ; and (2 the

Congressional delegation of authority in 31 U .S.C . 5314 to the Treasury

Secretary is unconstitutional . Doc . 115 . Both arguments are unavailing .

      In his first argument, Bradley claims-without citing any case,

regulation, or statute--that these two counts must be dismissed because

they do not identify whether the alleged violations are based on his failure

to report his Nassau bank account, his Nassau credit card ., or his Belize bank

account . Doc. 115 at 2-3 . This argument ignores the indictment's

suggestion that the alleged violation of 31 U . . . § 5314 refers to Bradley's

failure to report all three of his foreign accounts . See doc. 228 at 80-81 .

      Indeed, Count 285 alleges that, for the calendar year 1999, Bradley had

an interest in foreign accounts having "an aggregate value of over

$2,000,000 ." Id. at 80 (emphasis added) . Count 286 alleges, similarly, that

in 2000 Bradley Jr . held an interest in foreign accounts having a n


                                       36
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 37 of 43




aggregate value of over $800,000 .7, Id- at 81 . By referencing paragraphs 1-

39 of the indictment f- which list Bradley's three foreign accounts - the

indictment gives Bradley notice that he should prepare a defense against the

charges as to each of his foreign accounts .

     Moreover, there is nothing that requires the government to state

exactly which accounts form the basis for the charge ; nor does defendant cite

any legal authority for that requirement . "An indictment is sufficient if it,

first, contains the elements of the offense charged and fairly informs a

defendant of the charge against which he must defend, and, second, enables

him to plead an acquittal or conviction in bar of future prosecutions for the

same offense ." Hamlin v . U.S ., 418 U.S . 87, 117 (1974) ; see also Unit

States y. Dasilva-Hernandez, 2005 WL 1231714 at *1 {11th fair, 5/2/05)

(unpublished) . The standard for the sufficiency of an indictment is not a

rigorous one, and the indictment here surely satisfies it .

      Second, Bradley argues that the charge alleged under 31 U .S . C. § 5314

must be dismissed because that statute involves an unconstitutional

delegation of Congressional authority to the Treasury Secretary, Doe . 115




                                      37
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 38 of 43




at 4 . Bradley admits that successful challenges on this basis are

" exceedingly rare." Id, at 5 .

      This Court finds nothing so exceptional in 8 1 U. . . § 5314 to

constitute that rare instance in American history where Congress has

unconstitutionally delegated its authority . The Constitution provides that

"[a]ll legislative Powers herein granted shall be vested in a Congress of the

United States . . . . " U .S.     oust ., art . I,   1 . Because the legislative power

has been specifically granted to it, "Congress may not constitutionally

delegate its legislative power to another branch of government ." United

States Y . Mills, 817 F. Supp. 1546, 1552 N.D .Fla . 1993) ( citation omitted).

      Nonetheless , courts have long allowed Congress . to delegate some

legislative power to other agencies , so long as Congress offers them

guidelines by which to enact that legislation . See, e.g.. Mistretta v. United

States , 488 U . S . 361, 3 73 (1989) ( noting that "Congress simply cannot do its

job absent an ability to delegate power under broad general directives") ;

Mills . 817 F . upp , at 1552-53 . Under MiMistretta, a delegation of legislative

power is constitutionally sufficient if Congress "clearly delineates the

general policy , the public agency which is to apply it, and the boundaries of


                                             38
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 39 of 43




this delegated authority ." 488 U . S . at 372-73 (citation omitted) ; see also

United States vx Brown , 364 F . 3d 12667 1270-71 (11th Cir . 2004) .

      In 31 U. . .
            U.S.C    5314 - the statute at issue here - Congress began by

stating the general policy : "[TJo avoid impeding or controlling the export or

import of monetary instruments and . . , to avoid burdening unreasonabl y

a person making a transaction with a foreign financial agency . .

Congress then provided that "the Secretary of the Treasury shall require

[U. S. individuals] to keep records, file reports, or keep records and file

reports, when the [individual) makes a transaction or maintains a relation

for any person with a foreign financial agency ." I r . 314a .

      Section 5314(a) also specifies certain information to be required in

those reports, adding that it should be reported "in the way and to the

extent the Secretary prescribes ." Finally, the statute allows the Secretary

to exempt certain persons, accounts in certain countries, or certain sizes and

types of transactions from the requirements . Id- 314(b) .

      The plain language of 31 U.S .C . § 5314 easily satisfies the Mistretta

standard . I 'he first clause states the general policy for the provision and

specifies the person-the Secretary of the Treasury-who is to implemen t


                                       39
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 40 of 43




the statute . See 314(a . The rest of the statute clearly sets out the

boundaries of the delegation, as the Treasury Secretary is empowered only

to require reports related to foreign financial transactions . Id . Moreover,

the statute identifies the specific information that the reports must contain

and provides for specific exemptions from the reporting requirement that

the Secretary may prescribe . Iii. § 53Mb) . Under the well-established case

law and the plain language of the statute, 31 .U . .C . § 5314 is not that

exceptionally rare statute in which Congress has made an unconstitutional

delegation of authority .

      More interestingly, Bradley argues that the Treasury Secretary's re-

delegation of the authority to enforce the provisions of 31 U .S.C. § 5314 is

unconstitutional. Doc. 115 at 5-7 . The Treasury Secretary, promulgating

regulations under the statute, requires individuals to report foreign financial

interests "to the Commissioner of Internal Revenue ." 31 C.F.R. § 103.24 .

The Secretary also expressly redelegated the authority to enforce the statute

to the Commissioner of Internal Revenue . 31 CY .I . § 103.56(g). Bradley

submits that this redelegation violates Mistret 's requirement that th e




                                      40
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 41 of 43




Congressional delegation specify the public agency empowered to implement

the statute, See Mistretta, 488 U . S. at 372-73 .

      This argument, too, must fail . First , other than Bradley' s speculation

that this redelegation violates the Mistretta standard, he offers no argument

or citation of authority to support his claim , apparently in the hope that this

Court will find some authority for him, This Court will not do the work of

the advocate .   See L.R . CR.P . 12 .1 ("[Elvery motion filed i n a criminal

proceeding shall be accompanied by a memorandum of law citing supporting

authorities).

      Beyond that failure, though, this type of redelegation is simply not

unconstitutional . The statute itself contemplates that the Treasury

Secretary might enlist other agencies , as it allows the Secretary to prescribe

"other matters [he] considers necessary to carry out this section or a

regulation under this section ." 31 U.S.C. § 531 b) () . Additionally, federal

courts have consistently rejected such "redelegation" challenges. See, eT

United States v.. . 1R 1 s, 185 F .3d 1125, 1137 (10th Cir . 1999) (upholding

a redelegation from Secretary of the Interior to Commissioner of Indian

Affairs, who also redelegated his authority to Bureau of Indian Affairs Area


                                       41
     Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 42 of 43




Directors ; Hall v. Marshall, 476 F .Supp. 262, 272 (E .D.Pa. 1979) ( noting

that Secretary of Labor , as head of an executive department , had "general

power of delegation " under 5 U.S.C. 301, and adding that policy concerns

point "in the direction of more , not less, delegation ") ; United States v .

McDonald Chevrolet & Oldsmobile ,Inc. , 514 F.Supp . 83, 8 7 ( N .D. Ga. 1981)

("In an age when practical necessities demand delegation . . ." ; United

States v . Boren , 50 F.Supp. 520, 527-28 (D .Md. 1943) {" Heads of

Government departments and boards must act . . . in the performance of

their routine business. It is impossible for them to do otherwise and dispose

of the large volume of work " . The Court cannot accept Bradley, Jr .'s

argument that the Treasury Secretary ' s redelegation was unconstitutional ,

      Defendant Martin J . Bradley Jr,'s motion to dismiss Counts 285 and

286 (Failure to Disclose Foreign Financial Interests) should be DENIED .

Doc. 115 .



CONCLUSION

      The Court finds no merit to the motions to dismiss jointly filed by all

ten defendants in this case {does. 101, 256, 257, 113, 111) or the individual


                                      42
    Case 4:05-cr-00059-JRH-CLR Document 317 Filed 12/15/05 Page 43 of 43




motions filed by Bradley, III (doe . 93) and Bradley, Jr . (doe. 115) .

Accordingly, each of these motions should be DENIED .
                                                                  -r
         REPORTED AND RECOMMENDED this                      16'        day of

December, 2005.




                                         UNITED STATES MAGI S TRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




                                    43
